
75 So.3d 756 (2011)
Eligher Marquise BROOKS, Appellant,
v.
STATE of Florida, Appellee.
No. 2D10-2058.
District Court of Appeal of Florida, Second District.
October 19, 2011.
James Marion Moorman, Public Defender, and Judith Ellis, Assistant Public Defender, Bartow, for Appellant.
Pamela Jo Bondi, Attorney General, Tallahassee, and Cerese Crawford Taylor, Assistant *757 Attorney General, Tampa, for Appellee.
DAVIS, Judge.
Eligher Brooks challenges his conviction for attempted second-degree murder. For the reasons set forth in Houston v. State, ___ So.3d ___, 2011 WL 3518029 (Fla. 2d DCA 2011), we reverse and remand for the trial court to hold a new trial. As we did in Houston, we certify conflict with the Fourth District's opinion in Williams v. State, 40 So.3d 72 (Fla. 4th DCA 2010).
NORTHCUTT and BLACK, JJ., Concur.
